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                    UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                               HARRISONBURG DIVISION


______________________________________
                                       )
                                       )
UNITED STATES OF AMERICA               )
                                       )                   Case No. 5:10cr00028-1
                                       )
v.                                     )                   REPORT AND
                                       )                 RECOMMENDATION
                                       )
ANDREA CHARLTON,                       )                 By: Hon. James G. Welsh
                                       )                     U.S. Magistrate Judge
            Defendant                  )
______________________________________ )



       In accordance with the provisions of Title 28 U.S.C. ' 636(b)(3) and upon the

defendant=s informed and written consent, this case was referred to the undersigned for the

purpose of conducting a plea hearing.



       The Grand Jury previously returned a multi-count Indictment charging in Count One

that from on or about May 2009 to on or about June 30, 2010 this defendant knowingly and

intentionally combined, conspired, confederated and agreed with other persons, known and

unknown to the Grand Jury, to distribute five hundred (500) grams or more of a mixture and

substance containing a detectible amount of methamphetamine, a Schedule II controlled

substance, in violation 21 U.S.C. '' 841(a)(1) and 841(b)(1)(A), all in violation of Title 21,

United States Code, § 846; charging in Count Two that on or about June 23, 2010 this

defendant, acting as a principle and as an aider and abettor, knowingly and intentionally

distributed a mixture or substance containing a detectable amount of methamphetamine, a
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Schedule II controlled substance, in violation of Title 21, United States Code, §§ 841(a)(1) and

841(b)(1)(C); and charging in Count Three that on or about June 29, 2010 this defendant

knowingly and intentionally distributed a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, §§ 841(a)(1) and 841(b)(1)(C).        In addition, the Indictment contains a Notice of

Forfeiture apprising the defendant that certain of her property was subject to forfeiture upon

conviction of any one or more of the offenses alleged against her.



       The plea hearing was conducted before the undersigned on December 14, 2010. The

defendant was at all times present in person and with her counsel, Andrea L. Harris, Assistant

Federal Public Defender. The United States was represented by Grayson A. Hoffman, Assistant

United States Attorney. The proceedings were recorded by a court reporter. See Rule 11(g),

Federal Rules of Criminal Procedure.



       With the defendant=s informed and written consent, the undersigned made a Rule 11

inquiry; the government presented a written proffer of evidence for the purpose of establishing

an independent basis in fact for each plea, and the defendant entered pleas of guilty to the felony

offenses charged in Counts One, Two and Three of the Indictment.



                   DEFENDANT=S RESPONSES TO RULE 11 INQUIRY

       The defendant was placed under oath and addressed personally in open court. She

expressly acknowledged that she was obligated to testify truthfully in all respects under penalty



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of perjury and that she understood the government=s right, in a prosecution for perjury or false

statement, to use against her any statement that she gives under oath. See Rule 11(b)(1)(A).



        The defendant testified to the following personal facts: her full legal name is ANDREA

ROSE CHARLTON; she is twenty-nine (29) years of age, and she completed high school in

Virginia. She represented that she can read, write and understand English without difficulty.

She testified that she has no medical condition, either physical or mental, which might interfere

with her ability to understand and to participate fully in the court proceeding; she stated that she

was using no alcoholic beverage, medication or drugs which might impair her ability to

understand and to participate fully in the proceeding; she testified that her mind was clear, and

she acknowledged that She was in court for the purpose of entering pleas of guilty to three

felony offenses which she could not later withdraw. Upon inquiry, the defendant=s attorney

represented that she had no reservations about the defendant=s competency to enter the proposed

pleas of guilty.



        The defendant acknowledged that she had received a copy of the Indictment and that she

fully understood each of the charges against her. She stated that she had discussed the charges

with her attorney and had been given enough time to do so. She stated that she understood the

nature of each of the charges against her in the Indictment, and she specifically understood the

offenses charged in Counts One, Two and Three were all felony offenses.                  See Rule

11(b)(1)(G). She testified that she had discussed any possible defenses with her attorney and that

she had been given adequate time to prepare any defenses she might have to the charges. She



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stated that her decision to enter pleas of guilty to these three felony offenses had been made after

consulting with her attorney and that she was fully satisfied with the services of her attorney.



        The defendant confirmed that she fully recognized and understood her right to have the

Rule 11 hearing conducted by a United States district judge, and she gave her verbal and written

consent to proceed with the hearing before the undersigned United States magistrate judge. The

defendant=s written consent was filed and made a part of the record.



        At the beginning of the hearing, counsel for the defendant informed the court that her

client=s proposed plea was being made pursuant to a written plea agreement. See Rule 11(c)(2).

During the hearing, counsel for the government set forth the government=s understanding of the

plea agreement in some detail: including the agreement for the defendant to plead guilty to the

offenses charged in Count One, Two and Three of the Indictment [&A.1.]; the defendant=s

express acknowledgment of the full range of punishment for the offense charged in Count One of

the Indictment (including both the maximum and the mandatory minimum sentence) and the

enhanced range 1 of punishment for the offenses charged in Counts Two and Three of the

Indictment [&A.1.]; the defendant=s express understanding that she may be required to pay

restitution and that her assets may be subject to forfeiture [&&A.1. and B.5.a.]; the defendant=s

express admission of her factual guilt to the three charged offenses [&A.1.]; the defendant=s

obligation to pay a $100.00 special assessment per felony count[&&A.1. and B.5.a.]; the


1
 An 18 U.S.C. § 851 Information was previously filed by the United States by reason of the defendant’s prior
qualifying conviction. [See §b.2.].



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defendant=s acknowledgment of the trial rights waived by entry of a voluntary plea of guilty

[&A.2.]; the agreement=s provision outlining the fact that sentencing is within the sole discretion

of the court Asubject to its consideration@ of the Sentencing Guidelines and the factors set forth in

18 U.S.C. ' 3553(a) [&B.1.]; the defendant=s express recognition that she would not be allowed

to withdraw her guilty plea irrespective of the sentence imposed by the court [&B.1.]; the terms

of the agreement’s relevant sentencing enhancement information [¶B.2.]; the parties’ agreement

that the 2010 edition of the Sentencing Guidelines Manual and guideline section 2D.1(c)(3)

applied to the defendant=s conduct [&B.3.]; the agreement=s provision providing that to the extent

that it was not inconsistent with the terms of the plea agreement each remains free to argue

which guideline sections should or should not apply [&B.3.]; the terms of the agreement=s

acceptance of responsibility provision [& B.3.]; the agreement’s substantial assistance provision

[¶ B.4.]; the defendant=s monetary obligations, including the terms of her obligation to pay a

mandatory assessment of $100.00 per felony count of conviction [& B.5..]; the defendant=s

comprehensive waiver of appeal rights [&C.1.]; the defendant=s express waiver of her right to

make any collateral attack on any judgment or sentence imposed by the court [&C.2.]; the

defendant=s waiver of all rights to access of investigation or prosecution records or information

[&C.3.]; the terms of the defendant’s additional obligations of cooperation and assistance [¶C.6.];

the defendant=s acknowledgment that she had been effectively represented in this case [&E.3.];

the parties express acknowledgment that the written plea agreement constituted a binding

contractual understanding between the parties [&E.2.]; and the substance of the agreement=s

other terms and provisions. See Rule 11(b)(1)(B)B(N) and 11(c)(1)B(3).




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        After which, the defendant was asked whether her understanding of the terms of the

agreement was the same, and she testified that her understanding was precisely the same as that

set forth by the government=s attorney. Counsel for the defendant, likewise, represented that her

understanding was the same, and she further represented that she had reviewed each of the terms

of the plea agreement with the defendant, and she was satisfied that the defendant understood all

of its terms.



        The defendant was then shown the plea agreement; and she affirmed it to be her signature

on the document. She further testified that no one had made any other, different or additional

promise or assurance of any kind in an effort to induce her to enter pleas of guilty in this case

and that no one had attempted in any way to force her to plead guilty in this case. The

agreement was then received, filed and made a part of the record, and it was noted for the record

that the written plea agreement constitutes the best evidence of its terms, and as such it Aspeaks

for itself.@



        After counsel for the government outlined the statutory minimum and maximum

penalties for conviction of the offense charged in Count One, the defendant stated she

understood that confinement in federal penitentiary for ten (10) years to be the minimum

statutory penalty for the offense charged in Count One and that the maximum possible penalty

provided by law for conviction of the offense charged in Count One to be confinement for life, a




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$2,000,000.00 fine, and a term of supervised release. 2                After counsel for the government

outlined the enhanced statutory maximum statutory penalties for the offenses charged in Counts

Two and Three, the defendant stated she understood the maximum statutory penalties for the

offenses charged in Counts Two and Three to be confinement in a federal penitentiary for a term

of thirty (30)years, a $1,000,000.00 fine, and a term of supervised release.                         See Rule

11(b)(H)-(I). In addition, the defendant acknowledged that she understood that she would be

required to pay a mandatory $100.00 special assessment per felony conviction count. See Rule

11(b)(1)(L).



        The defendant then acknowledged that she knew her pleas, if accepted, would result in

her being adjudged guilty of three felony offenses and that such adjudication may deprive her of

valuable civil rights, such as the right to vote, the right to hold public office, the right to serve on

a jury, and the right to possess any kind of firearm.



        The defendant was informed, and she expressly acknowledged, that the court=s

determination of her sentence would include consideration of multiple factors, including: the

nature and circumstances of the offense; the defendant=s history and characteristics; the

seriousness of the offense; the need to promote respect for the law; the need to provide for just

punishment and afford adequate deterrence; the need to protect the public; any determined need




2
  The defendant was informed, and she expressly acknowledged, that she could be sentenced to less than ten (10)
years imprisonment only if the government makes a “substantial assistance” motion pursuant to 18 U.S.C. § 3553(e)
on her behalf.

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to provide the defendant with educational or vocational training, medical care or other

correctional treatment in the most efficient manner; the kinds of available sentences; the

pertinent sentencing guidelines and policy statements; the need to avoid unwanted sentence

disparities; and any need to provide for restitution. She also acknowledged that she understood

the court may order her to make full restitution to any victim and require her to forfeit certain

property to the government. See Rule 11(b)(1)(J)B(K).



       The defendant testified that she and her attorney had talked about how the Sentencing

Commission Guidelines might apply to her case and the court=s obligation to calculate the

applicable sentencing-guideline range and to consider that range, possible departures under the

Guidelines and other factors under 18 U.S.C. ' 3553(a). See Rule 11(b)(1)(M). She stated that

she understood that the court will not be able to determine the recommended guideline sentence

for her case until after the pre-sentence report had been completed and she and the government

each had an opportunity to challenge the facts reported by the probation officer.



       The defendant then acknowledged that she knew the entry of a guilty plea constituted an

admission of all of the elements of a formal felony charge, and she knew that irrespective of any

sentence imposed by the court she would have no right to withdraw these guilty pleas. See Rule

11(c)(3)(B). She acknowledged that she knew parole had been abolished and that she would not

be released on parole. She further acknowledged that she knew and understood any sentence of

incarceration imposed by the court would also include a period of Asupervised release,@ and she




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knew any violation of the terms or conditions of such supervised release could result in her being

returned to prison for an additional period of time. See Rule 11(b)(1)(H).



       Pursuant to the terms of the plea agreement [&C.1.], the defendant expressly

acknowledged that she understood that she was waiving all rights to appeal her conviction or any

sentence which did not exceed the maximum penalty permitted by law. Likewise, pursuant to

the terms of the plea agreement [&C.2.], she expressly acknowledged that she understood she

was waiving all rights to challenge her conviction or her sentence in any post-conviction

proceeding.



       Each of her procedural rights surrendered on a plea of guilty was also explained:

including, her right to plead not guilty to any offense charged against her and her right to persist

in any such not guilty plea; her attendant right to a trial by an impartial jury; her right to counsel

to assist in her defense; her presumption of innocence, the obligation of the government to prove

her guilt beyond a reasonable doubt, her right at trial to see, to hear, to confront, and to have

cross-examined all witnesses presented against her; her right to decline to testify unless she

voluntarily elected to do so in her own defense, her right to remain silent; her right to the

issuance of subpoenas or compulsory process to compel the attendance of witnesses to testify in

her defense, and her right to a unanimous guilty verdict. See Rule 11(b)(1)(B)B (E). The

defendant testified that she understood her right to plead not guilty and the attendant trial rights

that she would waive by pleading guilty. See Rule 11(b)(1)(F).




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       In direct response to further questioning, the defendant also testified that she was

pleading guilty to the three offenses charged against her in Counts One, Two and Three because

she was in fact guilty of each of these three charged offenses.



       To permit the court to determine whether an independent basis in fact existed for the

defendant=s plea, the government submitted a written proffer which summarized the essential

facts the government was prepared to prove at trial. The defendant and her counsel each

represented that the statement had been fully reviewed and that it fairly and accurately

summarized the government=s case. See Rule 11(b)(3).



       After testifying that she had heard and understood all parts of the proceeding and after

consulting with her attorney, the defendant waived a reading of the indictment. She was then

called-upon for her pleas, and she separately entered a plea of GUILTY to Count One alleging

her violation of Title 21 United States Code, § 846, a plea of GUILTY to Count Two alleging

her violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and a plea of GUILTY to Count Three

alleging a second and separate violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). The clerk

then read the written guilty plea form to the defendant; after acknowledging it to be correct, the

defendant executed it, and it was filed and made a part of the record.



       After entering her pleas of guilty and after an independent basis for each plea was

established, the defendant was again addressed personally. She reconfirmed that her decision to

plead guilty was fully voluntary and that it did not result from any force, threats, promises of



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leniency or other inducement of any kind (other than that expressly set forth in the plea

agreement). See Rule 11(b)(2). The defendant also reconfirmed her complete satisfaction with

the services and assistance of her attorney.



       The defendant was then informed that acceptance of her guilty pleas would be

recommended to the presiding district judge, that a pre-sentence report would be prepared, that

she would be asked to give information for that report, that her attorney may be present if she

wished, and that she and her attorney would have the right to read the pre-sentence report and to

file objections to it. The defendant was then remanded to the custody of the United States

Marshal pending preparation of a pre-sentence report and acceptance of her guilty pleas.



                                 GOVERNMENT=S EVIDENCE

       The government=s written statement setting forth the factual basis for the offense is

incorporated herein by reference.



                                      FINDINGS OF FACT

       Based on the evidence, the representations of counsel, and the defendant=s sworn

testimony presented as part of the hearing, the undersigned submits the following formal

findings of fact, conclusions and recommendations:


   1. The defendant is fully competent and capable of entering informed pleas to the charges
      set forth in Counts One, Two and Three of the Indictment;

   2. The defendant is fully aware both of the nature of the charge set forth in Count One of
      the Indictment and of the consequences of her guilty plea;


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   3. The defendant is fully aware both of the nature of the charge set forth in Count Two of
      the Indictment and of the consequences of her guilty plea;

   4. The defendant is fully aware both of the nature of the charge set forth in Count Three of
      the Indictment and of the consequences of her guilty plea;

   5. The defendant is fully informed, and she understands, the applicable enumerated items
      set forth in Rule 11(b)(1)(A)B(N);

   6. The defendant=s pleas of guilty were made pursuant to a fully voluntary written plea
      agreement;

   7. The defendant=s entry into the plea agreement and her tender of a plea of guilty to Counts
      One, Two and Three were made with the advice and assistance of counsel;

   8. The defendant knowingly and voluntarily entered pleas of guilty to Counts One, Two and
      Three of the Indictment;

   9. The defendant=s pleas of guilty did not result from force, threats, inducements or
      promises other than those promises contained in the written plea agreement;

   10. The plea agreement complies with the requirements of Rule 11(c)(1); and

   11. The evidence presents an independent basis in fact containing each essential element of
       the three offenses to which the defendant has entered pleas of guilty.



                               RECOMMENDED DISPOSITION

       Based on the above findings of fact, the undersigned RECOMMENDS that the court

accept the defendant=s pleas of guilty to the offenses charged in Counts One, Two and Three of

the Indictment, that she be adjudged GUILTY of all three said offenses, and that a sentencing

hearing be set by the set for March 9, 2011 at 10:00 a.m. before the presiding district judge.




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                                      NOTICE TO PARTIES

       Notice is hereby given to the provisions of 28 U.S.C. ' 636(b)(1)(c): Within fourteen

(14) days after being served with a copy of this Report and Recommendation, any party may

serve and file written objections to such proposed findings and recommendations as provided by

the rules of court. The presiding district judge shall make a de novo determination of those

portions of the report or specified findings or recommendations to which an objection is made.

The presiding district judge may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the undersigned. The presiding district judge may also receive

further evidence or recommit the matter to the undersigned with instructions. A failure to file

timely written objections to these proposed findings and recommendations within fourteen

(14) days could waive appellate review.



       The clerk is further directed to transmit a copy of this Report and Recommendation to all

counsel of record, and at the conclusion of the fourteen-day period the clerk is directed to

transmit the record in this matter to the presiding United States district judge.



DATED: this 29th day of December 2010.



                                                          s/ James G. Welsh
                                                          U.S. Magistrate Judge




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